             Case 22-11068-JTD       Doc 196-5   Filed 12/09/22   Page 1 of 2




               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE

In re:                           )        Chapter 11
                                 )        Case No. 22-11068 (JTD)
FTX TRADING LTD., et al.,        )        (Joint Administration Pending)
                                 )
         Debtors.                )

                    RULE 7.1 DISCLOSURE STATEMENT OF
                      THE FINANCIAL TIMES LIMITED

         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and to enable

judges and magistrate judges of this Court to evaluate possible disqualification or

recusal, the undersigned counsel for The Financial Times Limited certifies that it is

a private company, and is a wholly owned subsidiary of private company Financial

Times Group Limited which is wholly owned by private company Nikkei Inc. No

publicly held corporation owns 10% or more of the stock of The Financial Times

Limited.

Dated: December 9, 2022




                                 /s/ David L. Finger___________
                                 David L. Finger (ID #2556)
                                 Finger & Slanina, LLC
                                 One Commerce Center
                                 1201 N. Orange St., 7th fl.
                                 Wilmington, DE 19801.
                                 (302) 573-2525
                                 Attorney for The Financial Times Limited
Case 22-11068-JTD   Doc 196-5   Filed 12/09/22   Page 2 of 2
